    Case 2:22-cv-00614-SPC-NPM Document 33-10 Filed 02/29/24 Page 1 of 2 PageID 2344
From: Heikkila, Dawn <
Sent: Thursday, August 12, 2021 1:16 PM EDT
To: Clark, Jenna <JClark@sheriffleefl.org>
Subject: RE: message
Ok…well we are so busy right now that I am going to hold off on the FMLA…if you end up needing more time that that just let me
know and I will have to do the FMLA paperwork.

Thanks and I wish you a speedy recovery!!




                                Dawn Heikkila, Director

                                Lee County Sheriff's Office
                                Desk:
                                DHeikkila@sheriffleefl.org
                                www.sheriffleefl.org




From: Clark, Jenna <JClark@sheriffleefl.org>
Sent: Thursday, August 12, 2021 1:06 PM
To: Heikkila, Dawn
Subject: RE: message

18-20
24-27
Total of 7 days.


Jenna Clark | Purchasing Director
Desk: 239-477-1313
Purchasing
Lee County Sheriff's Office
JClark@sheriffleefl.org | www.sheriffleefl.org
From: Heikkila, Dawn
Sent: Thursday, August 12, 2021 1:04 PM
To: Clark, Jenna <JClark@sheriffleefl.org>
Subject: RE: message

Ok…if you are out more than a week I will forward it to Amy for FMLA…do you know how long you plan to be out?



                                Dawn Heikkila, Director
                                Lee County Sheriff's Office
                                Desk: 239-477-1132
                                DHeikkila@sheriffleefl.org
                                www.sheriffleefl.org



From: Clark, Jenna <JClark@sheriffleefl.org>
Sent: Thursday, August 12, 2021 12:26 PM
To: Heikkila, Dawn
Subject: message

Hi Dawn –

I called you to let you know I have surgery scheduled on the 18th - Annmarie said to let you know, she already approved my time.

Thanks!
Jenna

Jenna Clark | Purchasing Director
Desk: 239-477-1313
Purchasing
Lee County Sheriff's Office
JClark@sheriffleefl.org | www.sheriffleefl.org

***IMPORTANT MESSAGE***
                                                                                                          LCSO/Clark
                                                                                                          DEF001294
     Case 2:22-cv-00614-SPC-NPM Document 33-10 Filed 02/29/24 Page 2 of 2 PageID 2345
This message is intended for the use of the person or entity to whom it is addressed and may contain information that is privileged and confidential, the disclosure of which is governed by
applicable law. If the reader of this email is not the intended recipient or the employee or agent responsible to deliver it to the intended recipient, you are hereby notified that any
dissemination, distribution or copying of this information is STRICTLY PROHIBITED. If you have received this email by error, please notify us immediately and destroy the related message. This
footnote also confirms that this email message has been swept for the presence of computer viruses, worms, hostile scripts and other email-borne network threats. PLEASE NOTE: Florida has a
very broad public records law. Most written communications to or from government officials are public records available to the public and media upon request. Your email communications may
be subject to public disclosure per Sec. 119 F.S.




                                                                                                                                                           LCSO/Clark
                                                                                                                                                           DEF001295
